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               United States Court of Appeals
                                 For the First Circuit
                                    _____________________

No. 22-1755

 MICHAEL BUSH; LINDA TAYLOR; LISA TIERNAN; SUSAN PROVENZANO; ROBERT
      EGRI; KATALIN EGRI; MONICA GRANFIELD; ANN LINSEY HURLEY,

                                      Plaintiffs - Appellants,

     JOSEPH PROVENZANO; KATE HENDERSON; IAN SAMPSON; ANITA OPITZ,

                                            Plaintiffs,

                                                 v.

 LINDA FANTASIA; MARTHA FEENEY-PATTEN; ANTHONY MARIANO; CATHERINE
    GALLIGAN; JEAN JASAITIS BARRY; PATRICK COLLINS; DAVID ERICKSON;
                 TIMOTHY GODDARD; TOWN OF CARLISLE,

                                     Defendants - Appellees,

                                    JOHN DOE; JANE DOE,

                                          Defendants.
                                      __________________

                                              Before

                                     Barron, Chief Judge,
                            Howard and Montecalvo, Circuit Judges.
                                    __________________

                                          JUDGMENT

                                     Entered: April 18, 2024

        The judgment dismissing this challenge to the rescinded COVID-19 mask mandates
previously adopted by the Town of Carlisle's Board of Health and Gleason Public Library is
affirmed essentially for the reasons stated in the district court's Memorandum and Order of
September 12, 2022. See 1st Cir. R. 27.0(c). The appellants' requests for injunctive and declaratory
relief are moot. Post-mandate developments have only made this controversy less likely to recur
in its original form. To the extent that intervening caselaw may have strengthened the claim for
damages from the Board's rescinded mandate, that possibility (concerning which we express no
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opinion) only underscores the fact that no clearly established Constitutional right was violated by
appellees during the period in question.

       Affirmed.


                                                     By the Court:

                                                     Maria R. Hamilton, Clerk




cc:
Michael Bush
Linda Taylor
Lisa Tiernan
Kate Henderson
Robert Egri
Katalin Egri
Anita Opitz
Monica Granfield
Ann Linsey Hurley
Ian Sampson
Susan Provenzano
Joseph Provenzano
John Joseph Davis Jr.
Justin Lee Amos
Heidi Kaiter
Jill Owens
